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6
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7

8                               UNITED STATES DISTRICT COURT
9                              CENTRAL DISTRICT OF CALIFORNIA
10

11    DIGITAL VERIFICATION SYSTEMS, LLC      Case No. 2:22-cv-1354-MCS
12    Plaintiff,
13                                           FIRST AMENDED ANSWER TO
      v.
                                             COMPLAINT FOR PATENT
14    RPOST US, INC., et al.                 INFRINGEMENT AND
                                             COUNTERCLAIMS
15    Defendant.
16                                           DEMAND FOR JURY TRIAL

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1           Defendant RPost US, Inc. (“RPost”) answers the allegations in the numbered paragraphs in

2    Plaintiff’s Complaint for patent Infringement. Unless expressly admitted, all of the averments made
3
     by Plaintiff in its Complaint should be deemed denied by RPost.
4
                                           NATURE OF THE CASE
5
        1. RPost admits that this action is purportedly an action for patent infringement and that Plaintiff
6

7           purports to seek injunctive relief as well as damages.

8       2. RPost admits that Plaintiff asserts jurisdiction under 28 U.S.C. §§ 1331 (Federal Question)
9
            and 1338(a) (patents).
10
        3. RPost lacks sufficient information to admit or deny the allegations contained in Paragraph 3
11
            of the Complaint and therefore denies them.
12

13      4. RPost admits the allegations in Paragraph 4 of the Complaint.

14      5. RPost admits that it does business in this District. RPost does not contest personal
15
            jurisdiction in this action. RPost denies any and all remaining allegations and/or legal
16
            conclusions contained in Paragraph 5 of the Complaint.
17
        6. RPost admits the allegations in Paragraph 6 of the Complaint.
18

19                                                   VENUE

20      7. RPost admits that it has a regular and established place of business in this District. RPost
21
            denies any and all remaining allegations and/or legal conclusions contained in Paragraph 7 of
22
            the Complaint.
23
                                                    COUNT I
24

25                Alleged Infringement of U.S. patent No. 9,054, 860 (“the ’860 patent”)

26      8. RPost repeats, realleges, and incorporates its answers to paragraphs 1 through 7 of the
27          Complaint as if fully set forth in this Count.
28

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1      9. RPost admits that this action purport to arise under the patent laws of the United States and

2         under 35 U.S.C. §§ 271, et seq.
3
       10. RPost lacks sufficient information to admit or deny the allegations contained in Paragraph 10
4
          of the Complaint and therefore denies them.
5
       11. RPost admits that a copy of what purports to be the ’860 patent, titled “Digital Verified
6

7         Identification System and Method,” is attached to the Complaint as Exhibit A.

8      12. Paragraph 12 of the Complaint contains conclusions of law, rather than averments of fact, to
9
          which no answer is required. Insofar as an answer may be required, RPost denies any and all
10
          and/or legal conclusions contained in Paragraph 12 of the Complaint.
11
       13. Paragraph 13 of the Complaint contains conclusions of law, rather than averments of fact, to
12

13        which no answer is required. Insofar as an answer may be required, RPost denies any and all

14        and/or legal conclusions contained in Paragraph 13 of the Complaint.
15
       14. RPost admits that Paragraph 14 of the Complaint depicts what purports to be screenshots of
16
          RPost’s RSign product and services (“RSign”). Paragraph 14 of the Complaint contains
17
          conclusions of law, rather than averments of fact, to which no answer is required. Insofar as
18

19        an answer may be required, RPost denies any and all allegations and/or legal conclusions

20        contained in Paragraph 14 of the Complaint.
21
       15. RPost admits that Paragraph 15 of the Complaint depicts what purports to be screenshots of
22
          RSign. Paragraph 15 of the Complaint contains conclusions of law, rather than averments of
23
          fact, to which no answer is required. Insofar as an answer may be required, RPost denies any
24

25        and all allegations and/or legal conclusions contained in Paragraph 15 of the Complaint.

26     16. RPost admits that Paragraph 16 of the Complaint depicts what purports to be screenshots of
27        RSign. Paragraph 16 of the Complaint contains conclusions of law, rather than averments of
28

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1         fact, to which no answer is required. Insofar as an answer may be required, RPost denies any

2         and all allegations and/or legal conclusions contained in Paragraph 16 of the Complaint.
3
       17. RPost admits that Paragraph 17 of the Complaint depicts what purports to be screenshots of
4
          RSign. Paragraph 17 of the Complaint contains conclusions of law, rather than averments of
5
          fact, to which no answer is required. Insofar as an answer may be required, RPost denies any
6

7         and all allegations and/or legal conclusions contained in Paragraph 17 of the Complaint.

8      18. RPost admits that Paragraph 18 of the Complaint depicts what purports to be screenshots of
9
          RSign. Paragraph 18 of the Complaint contains conclusions of law, rather than averments of
10
          fact, to which no answer is required. Insofar as an answer may be required, RPost denies any
11
          and all allegations and/or legal conclusions contained in Paragraph 18 of the Complaint.
12

13     19. RPost admits that Paragraph 19 of the Complaint depicts what purports to be screenshots of

14        RSign. Paragraph 19 of the Complaint contains conclusions of law, rather than averments of
15
          fact, to which no answer is required. Insofar as an answer may be required, RPost denies any
16
          and all allegations and/or legal conclusions contained in Paragraph 19 of the Complaint.
17
       20. Paragraph 20 of the Complaint contains conclusions of law, rather than averments of fact, to
18

19        which no answer is required. Insofar as an answer may be required, RPost denies any and all

20        allegations and/or legal conclusions contained in Paragraph 20 of the Complaint.
21
       21. Paragraph 21 of the Complaint contains conclusions of law, rather than averments of fact, to
22
          which no answer is required. Insofar as an answer may be required, RPost denies any and all
23
          allegations and/or legal conclusions contained in Paragraph 21 of the Complaint.
24

25     22. RPost lacks sufficient information to admit or deny the allegations contained in Paragraph 22

26        of the Complaint and therefore denies them.
27                                       ANSWER TO PRAYER
28

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1              RPost denies that Plaintiff is entitled to the relief sought in Paragraphs a) – e) of its Prayer for

2    Relief.
3
                                           DEMAND FOR JURY TRIAL
4
               Under Rule 38 of the Federal Rules of Civil Procedure, RPost requests a trial by jury of any
5
     issues raised by Plaintiff’s Complaint that are so triable.
6

7                                           AFFIRMATIVE DEFENSES

8              RPost alleges the following separate affirmative defenses to Plaintiff’s Complaint and to each
9
     allegation contained the Complaint:
10
                                                  FIRST DEFENSE
11
               Plaintiff’s Complaint against RPost fails to state a claim upon which relief can be granted.
12

13                                               SECOND DEFENSE

14             RPost does not and has not infringed any valid and enforceable claim of the patent-in-suit
15
     either directly, contributorily, by way of inducement, literally, and/or under the doctrine of
16
     equivalents.
17
                                                  THIRD DEFENSE
18

19             The claims of the patent-in-suit are invalid for failure to satisfy one or more of the

20   requirements of Title 35 of the United States Code, including, §§ 101, 102, 103 and/or 112.
21                                               FOURTH DEFENSE
22
               Plaintiff’s claims are barred by the equitable doctrines of unclean hands, waiver, estoppel,
23
     acquiescence, and/or implied license.
24

25
                                                  FIFTH DEFENSE

26             Plaintiff’s claim for damages, if any, is barred, in whole or in part, by the statute of limitations
27   set forth in 35 U.S.C. § 286.
28

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1                                               SIXTH DEFENSE

2            To the extent that Plaintiff and/or its licensees have not complied with the marking
3
     requirements of 35 U.S.C. § 287(a), Plaintiff is precluded from recovering damages for alleged
4
     infringement, if any, until the date that Plaintiff actually notified RPost of the alleged infringement.
5
                                             SEVENTH DEFENSE
6

7            Plaintiff is barred from recovering costs in connection with this action under 35 U.S.C. § 288.

8                                             EIGHTH DEFENSE
9
             Plaintiff cannot prove that this case is exceptional, justifying an award of attorneys’ fee
10
     against RPost under 35 U.S.C. § 285. RPost has not engaged in any activity that would entitle
11
     Plaintiff to such fees.
12

13                                             NINTH DEFENSE

14           Plaintiff’s claims are barred in whole or in part by the doctrine of ensnarement.
15
                                               TENTH DEFENSE
16
             Plaintiff’s claim for relief are limited to the extent that any allegedly infringing products or
17
     components of those products are supplied, directly or indirectly, to RPost or are imported, sold by,
18

19   offered for sale by, made by, or made for, any entity or entities having express or implied licenses to

20   the ’860 patent, and/or under the doctrines of exhaustion, first sale, license, implied license, full
21   compensation, or restrictions against double recovery.
22
                                            ELEVENTH DEFENSE
23
             To the extent that Plaintiff’s claims are directed to acts occurring outside the United States,
24

25
     those claims for relief are barred or limited by the doctrine of territoriality by 35 U.S.C. § 271 et seq.,

26   including but not limited to § 271(a) and (c).
27                                           TWELFTH DEFENSE
28

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1           Plaintiff is not entitled to an injunction because Plaintiff is not likely to prevail on the merits,

2    has not suffered and will not suffer irreparable harm because of RPost’s conduct, and has an adequate
3
     remedy at law.
4
                                          THIRTEENTH DEFENSE
5
            To the extent that Plaintiff lacks all substantive rights to bring suit and to exclude others from
6

7    practicing the claims of one the ’860 patent, Plaintiff’s claims are barred by a lack of standing.

8                                      RESERVATION OF DEFENSES
9
            RPost reserves all defenses under Rule 8(c) of the Federal Rules of Civil Procedure, the patent
10
     Laws of the United States and any other defenses, at law and equity, that may now or in the future be
11
     available based on discovery or any other factual investigation concerning this case or any other
12

13   related case.

14                                      RPOST’S COUNTERCLAIMS
15
            Under Federal Rule of Civil Procedure 13, Counterclaim-Plaintiff RPost US, Inc. (“RPost”)
16
     for its counterclaims against Counterclaim-Defendant Digital Verification Systems, states as follows:
17
                                                 THE PARTIES
18

19          1.        RPost is a Delaware corporation with its principal place of business at 6033 W

20      Century Blvd., Ste. 1278, Los Angeles, CA, 90045.
21          2.        Based on Paragraph 3 of the Complaint, Digital Verification Systems, LLC (“DVS”)
22
        is a Texas limited liability company with an address of 1 East Broward Boulevard, Suite 700, Fort
23
        Lauderdale, FL 33301.
24

25
                                        JURISDICTION AND VENUE

26

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1          3.        These Counterclaims arise under the United States Patent Act, 35 U.S.C. §1 et seq.,

2      and the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202. This Court has subject matter
3
       jurisdiction over these Counterclaims under 28 U.S.C. §§ 1331 and 1338(a).
4
           4.        In Paragraph 10 of the Complaint, DVS contends that it is the owner of all rights, title,
5
       and interest in and to U.S. Pat. No. 9,054,860 (the “’860 patent”) (the “Asserted Patent”).
6

7          5.        Through its Complaint, DVS charges RPost with infringement of one or more claims

8      of the Asserted patent. Thus, DVS has submitted itself to the jurisdiction of this Court, has
9
       created an actual case or controversy between the parties, and has asserted that venue is proper in
10
       this Court.
11
           6.        This Court has personal jurisdiction over DVS due at least to its submission to the
12

13     jurisdiction of this Court through the filing of its Complaint against RPost.

14         7.        Venue is proper in this Court with respect to the following Counterclaims under 28
15
       U.S.C. § 1391 and/or 1400(b), at least because DVS filed its Complaint against RPost in this
16
       District.
17
                                                    COUNT I
18

19                    Declaratory Judgment Of Non-Infringement Of The ’860 Patent

20         8.        RPost incorporates by reference Paragraphs 1-7 of these Counterclaims together with
21     the answers to Paragraphs 1-22 of DVS’s Complaint for patent Infringement.
22
           9.        On February 28, 2022, DVS filed a Complaint naming RPost as defendant.
23
           10.       DVS’s Complaint alleges that DVS owns the ’860 patent and holds the rights to sue
24

25
       and recover damages for infringement thereof, and further accuses RPost of infringing the ’860

26     patent by making, using, selling, offering for sale, and/or importing in or into the United States
27     certain products.
28

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 1        11.     RPost denies that it has infringed or is infringing any valid and enforceable claim of

 2     the ’860 patent whether directly, indirectly, literally or under the doctrine of equivalents, jointly,
 3
       willfully, or in any other manner through the making, using, selling, offering for sale, and/or
 4
       importing certain products, or by the creation and dissemination of promotional and marketing
 5
       materials, supporting materials, instructions, product manuals, and/or technical information
 6

 7     related to certain products, or any other acts. RPost further denies that the accused RPost

 8     products and services lack substantial non-infringing uses to the ’860 patent.
 9
          12.     The accused RPost products and services do not infringe, and have not infringed, any
10
       claims of the ’860 patent at least because, for example, none of the accused RPost products and
11
       services meet or embody the limitations of an “at least one digital identification module
12

13     structured to be associated with at least one entity,” “a module generating assembly structured to

14     receive at least one verification data element corresponding to the at least one entity and create
15
       said at least one digital identification module,” “at least one digital identification module being
16
       disposable within at least one electronic file,” and “at least one digital identification module
17
       comprising at least one primary component structured to at least partially associate said digital
18

19     identification module with said at least one entity, wherein said at least one digital identification

20     module is cooperatively structured to be embedded within only a single electronic file,” as
21     required by exemplary asserted claim 1 of the ’860 patent.
22
          13.     Alternatively, the accused RPost products and services do not infringe, and have not
23
       infringed, any claims of the ’860 patent at least because, for example, the accused RPost products
24

25
       and services meet or embody the limitations of U.S. patent No. 7,660,989, which is invalidating

26     prior art to the ’860 patent as alleged in Count II.
27

28

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  1        14.     Accordingly, a valid and justiciable controversy has arisen and exists between RPost

  2     and DVS regarding DVS’s allegations of infringement of the ’860 patent.
  3
           15.     Under 28 U.S.C. §§ 2201 and 2202, RPost is entitled to a declaratory judgment that
  4
        RPost has not infringed, and currently does not infringe, any valid and enforceable claim of the
  5
        ’860 patent whether directly, indirectly, literally or under the doctrine of equivalents, jointly,
  6

  7     willfully, or in any other manner.

  8                                               COUNT II
  9
                            Declaratory Judgment Of Invalidity Of The ’860 Patent
 10
           16.     RPost incorporates by reference Paragraphs 1-15 of these Counterclaims together with
 11
        the answers to Paragraphs 1-22 of DVS’s Complaint for patent Infringement.
 12

 13        17.     On February 28, 2022, DVS filed a Complaint naming RPost as defendant.

 14        18.     DVS’s Complaint alleges that DVS owns the ’860 patent and holds the rights to sue
 15
        and recover damages for infringement thereof, and further accuses RPost of infringing the ’860
 16
        patent by making, using, selling, offering for sale, and/or importing in or into the United States
 17
        certain products.
 18

 19        19.     One or more claims of the ’860 patent is invalid for failure to comply with the

 20     requirements of patentability set forth in the patent statutes, including at least 35 U.S.C. §§ 101,
 21     102, 103, 112, 116, 119 and/or 120. A judicial declaration that one or more of the claims of the
 22
        ’860 patent are invalid and/or unenforceable because it fails to satisfy the conditions for
 23
        patentability specified in Title 35 of the United States Code is necessary and appropriate at this
 24

 25
        time so that RPost can ascertain its rights and duties with respect to the ’860 patent. RPost has no

 26     adequate remedy at law.
 27

 28

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  1         20.     In particular, the claims of the ’860 patent are directed to unpatentable subject matter

  2     and are thus invalid under 35 U.S.C. § 101 at least because they are directed to abstract ideas of
  3
        gathering and processing information, i.e., the abstract idea of authenticating the identification of
  4
        an entity associated with an electronic file.
  5
            21.     Additionally, the claims of the ’860 patent are invalid under 35 U.S.C. § 102 and/or 35
  6

  7     U.S.C. § 103 in light of conventional authentication techniques and the prior art that was publicly

  8     available prior to the earliest priority date that the ’860 patent is entitled to.
  9
            22.     For example, in addition to the admitted prior art disclosed by the specification of the
 10
        ’860 patent, U.S. Patent No. 7,660,989 (“the ’989 patent”), which is assigned to RPost’s parent
 11
        company, teaches each limitation of claim 1 of the ’860 patent. The ’989 patent discloses a
 12

 13     digital verified identification system. See, e.g., ’989 patent at 7:16-31 (“A server provides a

 14     message from a sender to a recipient and an attachment including the sender’s identity, the
 15
        recipient's identity and address, and the time of transmission from the server to the recipient.
 16
        Upon reception, the recipient transmits to the server the information sent to the recipient from the
 17
        server. To authenticate the message and the transmission to the recipient, the server produces
 18

 19     digital signatures (hashed encryption) of the message and the attachment. The server then

 20     produces digital fingerprints of the digital signatures and digital fingerprints (hashed) of the
 21     message and the attachment. The server provides the authentication to the sender when the two
 22
        (2) digital fingerprints relating to the message are identical and when the two (2) digital
 23
        fingerprints relating to the attachment are identical. The authentication may also be provided to
 24

 25
        the recipient third parties associated with the recipient.”). The ’989 patent discloses at least one

 26     digital identification module structured to be associated with at least one entity. See, e.g., ’989
 27     patent at claim 36 (“In a method of transmitting a message and an attachment from a sender to a
 28

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  1     recipient through a server displaced from the recipient, including the steps of: identifying the

  2     sender; hashing the attachments; stripping the message of the attachments; hashing the
  3
        identification of the sender …”). The ’989 patent discloses a module generating assembly
  4
        structured to receive at least one verification data element corresponding to the at least one entity
  5
        and create said at least one digital identification module. See id. (“In a method of transmitting a
  6

  7     message and an attachment from a sender to a recipient through a server displaced from the

  8     recipient, including the steps of: identifying the sender; hashing the attachments; stripping the
  9
        message of the attachments; hashing the identification of the sender, the hashed attachments and
 10
        the message to form a hashed string; hashing the hashed string; encrypting the hashed string after
 11
        the hashing of the hashed string; and digitally sealing the encrypted hash of the hashed string by
 12

 13     attaching the encrypted hash of the hashed string to an HTML file containing instruction on how

 14     to authenticate the message and attaching the HTML file including the encrypted hash of the
 15
        hashed string to the message and concealing the encrypted hash of the hashed string in the HTML
 16
        file.”). The ’989 patent discloses said at least one digital identification module being disposable
 17
        within at least one electronic file. See id. (“digitally sealing the encrypted hash of the hashed
 18

 19     string by attaching the encrypted hash of the hashed string to an HTML file.”) The ’989 patent

 20     discloses said at least one digital identification module comprising at least one primary
 21     component structured to at least partially associate said digital identification module with said at
 22
        least one entity. See id. (“hashing the attachments; stripping the message of the attachments;
 23
        hashing the identification of the sender, the hashed attachments and the message to form a hashed
 24

 25
        string; hashing the hashed string; encrypting the hashed string after the hashing of the hashed

 26     string; and digitally sealing the encrypted hash of the hashed string by attaching the encrypted
 27     hash of the hashed string to an HTML file”). The ’989 patent discloses wherein said at least one
 28

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  1      digital identification module is cooperatively structured to be embedded within only a single

  2      electronic file. See id. (“digitally sealing the encrypted hash of the hashed string by attaching the
  3
         encrypted hash of the hashed string to an HTML file containing instruction on how to
  4
         authenticate the message and attaching the HTML file including the encrypted hash of the hashed
  5
         string to the message and concealing the encrypted hash of the hashed string in the HTML file.”).
  6

  7          23.     Moreover, the claims of the ’860 patent are invalid at least because they fail to meet

  8      the definiteness, enablement, and written description requirements of 35 U.S.C. § 112 because the
  9
         claims fail to particularly point out and distinctly claim the subject matter that the inventors
 10
         regarded as the invention, the specification fails to sufficiently inform those skilled in the relevant
 11
         art how to make and use the purported invention, and also because the ’860 patent, as a whole,
 12

 13      fails to disclose adequate information to demonstrate that the inventors were in possession of the

 14      claimed invention.
 15
             24.     Accordingly, a valid and justiciable controversy has arisen and exists between RPost
 16
         and DVS regarding the validity of the ’860 patent.
 17
             25.     Under 28 U.S.C. §§ 2201 and 2202, RPost is entitled to a declaratory judgment that
 18

 19      one or more claims of the ’860 patent is invalid.

 20                                      DEMAND FOR JURY TRIAL
 21          Under Rule 38 of the Federal Rules of Civil Procedure, RPost requests a trial by jury of any
 22
      issues raised by RPost’s Counterclaims that are so triable.
 23
                                            PRAYER FOR RELIEF
 24

 25
             RPost prays for the following relief on its Answer to Plaintiff’s Complaint and

 26   Counterclaims:
 27          1.      That Plaintiff take nothing by its Complaint, and that it be dismissed with prejudice;
 28

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  1          2.     Declaratory judgment that RPost has not infringed, directly or otherwise, any

  2          claim of the Asserted Patent;
  3
             3.     Declaratory judgment that the claims of the Asserted Patent are invalid;
  4
             4.     Judgment in favor of RPost against DVS;
  5
             5.     A declaration that this is an exceptional case and awarding RPost its attorneys’ fees
  6

  7   incurred in connection with this action under 35 U.S.C. § 285;

  8          6.     RPost’s costs of suit; and
  9
             7.     Awarding RPost such other and further relief as this Court deems just and proper.
 10

 11
      Dated: June 27, 2022                                  Respectfully submitted,
 12
                                                            /s/ Lewis E. Hudnell, III
 13
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 17                                                         lewis@hudnelllaw.com

 18                                                         Attorneys for Defendant
                                                            RPost US, Inc.
 19

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